Case 1:23-cv-00108-LMB-JFA Document 684 Filed 05/30/24 Page 1 of 2 PageID# 17504




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )


    SUPPLEMENT TO OBJECTIONS TO MAGISTRATE JUDGE’S ORDER DENYING
      MOTION TO AMEND COORDINATION ORDER FOR NEW INFORMATION

         This Supplement is to inform the Court that on May 28, Google filed in the Texas Case a

  further joint Stipulation and Proposed Order seeking wholesale reproduction of all third-party

  documents from this case, including documents gathered by the Department of Justice as part of

  its pre-complaint investigation of Google’s conduct. See Exhibit A.

         In response, and at the express invitation of the court in the Texas Case, the United States

  today filed a further Statement of Interest in the Texas Case, which is attached as Exhibit B.




                                                    1
Case 1:23-cv-00108-LMB-JFA Document 684 Filed 05/30/24 Page 2 of 2 PageID# 17505




  Dated: May 30, 2024

  Respectfully submitted,

  JESSICA D. ABER                       JASON S. MIYARES
  United States Attorney                Attorney General of Virginia

  /s/ Gerard Mene                       /s/ Tyler T. Henry
  GERARD MENE                           STEVEN G. POPPS
  Assistant U.S. Attorney               Deputy Attorney General
  2100 Jamieson Avenue                  TYLER T. HENRY
  Alexandria, VA 22314                  Assistant Attorney General
  Telephone: (703) 299-3777
  Facsimile: (703) 299-3983             Office of the Attorney General of Virginia
  Email: Gerard.Mene@usdoj.gov          202 North Ninth Street
                                        Richmond, VA 23219
  /s/ Julia Tarver Wood                 Telephone: (804) 692-0485
  JULIA TARVER WOOD                     Facsimile: (804) 786-0122
  MICHAEL E. WOLIN                      Email: thenry@oag.state.va.us
  AARON M. TEITELBAUM
                                        Attorneys for the Commonwealth of
  United States Department of Justice   Virginia and local counsel for the
  Antitrust Division                    States of Arizona, California,
  450 Fifth Street NW, Suite 7100       Colorado, Connecticut, Illinois,
  Washington, DC 20530                  Michigan, Minnesota, Nebraska, New
  Telephone: (202) 307-0077             Hampshire, New Jersey, New York,
  Fax: (202) 616-8544                   North Carolina, Rhode Island,
  Email: Julia.Tarver.Wood@usdoj.gov    Tennessee, Washington, and West
  Attorneys for the United States       Virginia




                                        2
